 

UNITED STATES DISTRICT COURT FOR THE —- CHARLOTTE, Nc,
WESTERN DISTRICT OF NORTH CAROLINA
STATESVILLE DIVISION FEB 2 5 (998

US. DISTRICT COURT

UNITED STATES OF AMERICA ) DOCKET NO. 5:97CR31W. DIST, of N.C
) Me
V. )
) PLEA AGREEMENT
JHON JAIRO FLOREZ )
aka Angel Luis Tirado }
)

 

NOW COME the United States of America, by and through Mark T. Calloway, United States
Attorney for the Western District of North Carolina, and the defendant, JHON JAIRO FLOREZ, in
person and through counsel, VICTORIA S. GONZALEZ, and respectfully inform the Court that they
have reached the following agreement:

I. Plea
1. The defendant agrees to enter a voluntary plea of guilty to Counts One, Two, Three,
Four, Five and Six as set forth in the Bill of Indictment, and admits to being in fact guilty as charged
in those Counts.

TE. Sentence

2. The defendant is aware that the statutory minimum and maximum sentences for each
Count is as follows:

 

Count One: a $250,000 fine, not more than 10 years imprisonment, or both.

 

The defendant is aware that any sentence imposed will be in conformity with the United States
Sentencing Guidelines [U.S.S.G.], and that a sentence imposed under the Guidelines is without
parole, The defendant is further aware that the Court has not yet determined the sentence, that any
estimate from any source, including defense counsel, of the likely sentence is a prediction rather than
a promise, and that the Court has the final discretion to impose any sentence up to the statutory
maximum, The defendant further understands that no recommendations or agreements by the United
States are binding upon the Court.

3..  Inregard to the Sentencing Guidelines, the defendant and the United States agree to
recommend to the Court as follows:

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/O
 

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a, The aggregate amount of the structured and fraudulent transactions was SK
between $800,000 and $1,500,000.

b. Provided that the defendant acknowledges to the government, the Probation
Office, and the Court the nature and extent of all relevant criminal conduct,
the United States agrees to recommend a two-level reduction in offense level
pursuant to U.S.S.G. § 3E1.1. .

Provided that the defendant has timely provided information to the
government concerning his involvement in the offense(s) charged, or has
timely notified authorities of an intention to plead guilty, the United States
agrees to recommend that the defendant receive an additional one-level
reduction pursuant to U.S.S.G. § 3E1,1(b)(2).

However, the defendant understands that any reduction in offense level is
ultimately for the Court's determination.

c. Notwithstanding any recommendations in this Agreement as to the offense
level, if the Probation Office determines ftom the defendant's criminal history
that U.S.S.G, §4B1.1 (Career Offender) or §4B1.4 (Armed Career Criminal)
or a statutory minimum sentence applies, then that provision will be used in
determining the sentence.

d. The defendant is aware that if the Probation Office determines that a different
offense level or a Guideline not addressed in this agreement applies, and the
Court finds that the Probation Office is correct, then the Court will use that
offense level or Guideline in determining the sentence. Nothing in this Plea
Agreement will prevent either the United States or the defendant from
arguing, before the sentence is imposed, for the offense level as agreed upon
herein and a sentence within the corresponding U_S.S.G. range.

4. The United States and the defendant agree, pursuant to Federal Rule of Criminal
Procedure 11(e)(1)(B), that the defendant's sentence, including any fine, will be within the applicable
Sentencing Guidelines range, and that the Court in its discretion will determine the exact point within
that range, Nothing in this Agreement precludes the defendant from arguing for or otherwise seeking
to obtain either a specific form or term of sentence as permitted within such range or, if applicable,
a sentence authorized by U.S.S.G. § SB1.1 or 5C1.1. Nor does this Agreement require or prohibit
that the United States take a position before the Court concerning the specific form or term of the
sentence within the applicable range or U.S.S.G. § 5B1.1 or § 5C1.1.

5. Subject to the Court's discretion and determination that the defendant is financially
able, the defendant agrees to pay full restitution, which will be included in the Court's Order of

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5. Subject to the Court's discretion and determination that the defendant is financially
able, the defendant agrees to pay full restitution, which will be included in the Court's Order of
Judgment. The defendant agrees that such restitution will include all victims directly or indirectly
harmed by the defendant's relevant conduct, as defined by U.S.S.G. §1B1.3, regardless of whether
such conduct constitutes an "offense" under 18 U.S.C. § 3663.

In the event that the United States has agreed hereunder to dismiss one or more counts, the
defendant agrees to pay restitution for all losses resulting from the activities underlying and relevant
to the dismissed counts, regardless of whether any such charge is an "offense" for purposes of 18
U.S.C. § 3663 or any other applicable statute.

The parties further agree that the Court may accept the information in the Presentence
Investigation Report, except any facts to which the defendant files written objections, as establishing
sufficient factual findings regarding the amount of loss sustained by the victim, the financial resources
of the defendant, earning ability of the defendant, and any other factors contained in said report [18
U.S.C. §3664(a) & (b)].

6. The parties stipulate that, pursuant to 21 U.S.C. § 862(a), the defendant will be
ineligible for all federal benefits for 5 years after the date of sentencing. Ifthe Court determines that
this conviction is the second federal or state offense of distribution of controlled substances, the
defendant will be ineligible for all federal benefits for 10 years after sentencing. If the Court
determines that this conviction is the third or subsequent such offense, the defendant will be
permanently ineligible for all federal benefits.

7, The defendant hereby agrees to pay the total amount required for assessment $100.00
per count, to the Clerk, United States District Court, before 5:00 p.m. on the date of pleading guilty.

8. The defendant agrees to reimburse the United States for the cost of Court-appointed
counsel and that the Court may include such reimbursement in the Order of Judgment.

Ii. Precedure

9. The defendant agrees that a duly-qualified federal Magistrate Judge may conduct the
hearing required by Federal Rule of Criminal Procedure 11.

10. In regard to the factual basis as required by Federal Rule of Criminal Procedure 11(f):

a. With the Court's permission, the factual basis will be deferred until the time
of sentencing.

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b. The parties stipulate that the Court may use the offense conduct set out in the
Pre-Sentence Report, except any facts to which the defendant has objected,
to establish a factual basis for the defendant's plea.

c. The defendant stipulates that there is a factual basis for the plea of guilty, and
relieves the United States of any further obligation to present evidence. The
United States may provide the factual basis for this case by presenting
witnesses, relying upon the Pre-Sentence Report, or reciting for the Court a
summary of the investigation.

d. The United States may present pertinent background information and
evidence obtained during the investigation of the matters described in the Bill
of Indictment. The United States will correct misleading or inaccurate
statements or information, if any, that the defendant or other persons may
present to the Court.

e. The defendant may clarify the factual basis as he desires.

IV. Waivers

11, In the event that the defendant fails to comply strictly with this Plea Agreement, he
understands and agrees that the Plea Agreement will become null and void, except that the
defendant's plea of guilty, and the resulting guilty verdict will stand.

12. The defendant is aware that the law provides certain limited rights to withdraw a plea
of guilty. The defendant has discussed these rights with defense counsel and knowingly and expressly
waives any right to withdraw the plea once the District Court has accepted it.

13. The defendant understands that, absent an agreement to the contrary, any statements
to law enforcement officials prior to the signing of this agreement are not statements made to “an
attorney for the government,” Fed.R.Crim.Proc. 11(e)(6)(D), Fed.R.Evid. 410(4), and that any
subsequent statements to either law enforcement agents or government prosecutors are not
statements “made in the course of plea discussions,” /d.

14. _ The defendant understands and agrees that by pleading guilty, he is expressly waiving
the following rights:

to be tried by a jury;

to be assisted by an attorney at trial;

to confront and cross-examine witnesses ; and
not to be compelled to incriminate one's own self.

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15. The defendant is aware that 18 U.S.C. § 3742 and § 28 U.S.C. § 2255 afford every
defendant certain rights to contest a conviction and/or sentence. Acknowledging those rights, the
defendant, in exchange for the concessions made by the United States in this plea agreement, waives
the right to contest either the conviction or the sentence in any direct appeal or other post-conviction
action, including any proceeding under 28 U.S.C. §2255. This waiver does not apply to claims of
ineffective assistance of counsel or prosecutorial misconduct.

This agreement does not affect the rights or obligations of the United States as set forth in
18 U.S.C. § 3742(b). Nor does it limit the United States in its comments in or responses to any post-
sentencing matters,

16. | The defendant waives all rights, whether asserted directly or by a representative, to
request or receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records that may be sought
under the Freedom of Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.

17, The defendant forfeits and otherwise waives any ownership right in all items seized
during the investigation of the acts alleged in the Bill of Indictment. The Court has jurisdiction over
the disposition of such items and may order the investigative agency to dispose of the items in such
manner as provided by the agency's regulations. Forfeited firearms will be ordered destroyed.

VIL Conclhusion

18. The defendant understands that ifhe breaches this agreement, or violates any federal,
state or local law, or any order of any court, including any condition of pre-trial, pre-sentence, or
post-sentence release, the United States may void this agreement. In that event, the defendant's plea
of guilty and the resulting guilty verdict will stand, and the United States will be free to proceed on
any properly-filed dismissed, pending, superseding, or additional charges.

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19. There are no agreements, representations, or understandings between the parties

in this case, other than those that are explicitly set forth in this Plea Agreement and none will
be entered into unless executed in writing and signed by all the parties.

SO AGREED:

MARK T. CALLOWAY, UNITED STATES ATTORNEY

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ROBERT J. NIGION, JK, Assistant/United States Attorney

 

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VICTORIA S. GONZALBZ, Attorney for Defendant

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JHON JAIRO FLOREZ, Defendant

 

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